Case 2:17-cv-00399-TJH-JC Document 14 Filed 02/27/17 Page 1 of 6 Page ID #:30



  1 VICTOR SHERMAN, ESQ. (State Bar No.: 38483)
    LAW OFFICES OF VICTOR SHERMAN
  2 A Professional Law Corporation
    2115 Main Street
  3 Santa Monica, CA 90405-2215
  4 E-Mail: SSVictor@aol.com
    Tele:   (310) 399-3259
  5 Fax:    (310) 392-9029
  6 Attorneys for Claimant
    PEDRO PRIETO
  7
  8
                          UNITED STATES DISTRICT COURT
  9
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
 11
      UNITED STATES OF AMERICA,        )          Case No.: 2:17-CV-00399-TJH-JC
 12                                    )
                        Plaintiff,     )          CLAIMANT, PEDRO PRIETO’S
 13                                    )          ANSWER TO COMPLAINT FOR
      v.                               )          FORFEITURE
 14                                    )
      $146,780.00 in U.S. Currency,    )
 15                                    )
                        Defendant.     )
 16   ________________________________ )
                                       )
 17   PEDRO PRIETO,                    )
                                       )
 18                     Claimant.      )
                                       )
 19
            Claimant, Pedro Prieto, hereby answers the Complaint for Forfeiture in the
 20
      above-entitled matter as follows:
 21
            1.     Answering paragraph 1 of the Complaint, claimant admits the
 22
      allegations contained therein.
 23
            2.     Answering paragraph 2 of the Complaint, claimant admits the
 24
      allegations contained therein.
 25
            3.     Answering paragraph 3 of the Complaint, claimant admits the
 26
      allegations contained therein.
 27
            4.     Answering paragraph 4 of the Complaint, claimant admits the
 28
      allegations contained therein.
                                              1
Case 2:17-cv-00399-TJH-JC Document 14 Filed 02/27/17 Page 2 of 6 Page ID #:31



  1         5.    Answering paragraph 5 of the Complaint, claimant admits the
  2 allegations contained therein.
  3         6.    Answering paragraph 6 of the Complaint, claimant admits the
  4 allegations contained therein.
  5         7.    Answering paragraph 7 of the Complaint, claimant admits the
  6 allegations contained therein.
  7         8.    Answering paragraph 8 of the Complaint, claimant has insufficient
  8 information or belief to answer the allegations contained therein, and based
  9 thereon, denies each and every allegation contained therein.
 10         9.    Answering paragraph 9 of the Complaint, claimant has insufficient
 11 information or belief to answer the allegations contained therein, and based
 12 thereon, denies each and every allegation contained therein.
 13         10.   Answering paragraph 10 of the Complaint, claimant has insufficient
 14 information or belief to answer the allegations contained therein, and based
 15 thereon, denies each and every allegation contained therein.
 16         11.   Answering paragraph 11 of the Complaint, claimant has insufficient
 17 information or belief to answer the allegations contained therein, and based
 18 thereon, denies each and every allegation contained therein.
 19         12.   Answering paragraph 12 of the Complaint, claimant has insufficient
 20 information or belief to answer the allegations contained therein, and based
 21 thereon, denies each and every allegation contained therein.
 22         13.   Answering paragraph 13 of the Complaint, claimant has insufficient
 23 information or belief to answer the allegations contained therein, and based
 24 thereon, denies each and every allegation contained therein.
 25         14.   Answering paragraph 14 of the Complaint, claimant has insufficient
 26 information or belief to answer the allegations contained therein, and based
 27 thereon, denies each and every allegation contained therein.
 28         15.   Answering paragraph 15 of the Complaint, claimant has insufficient
      information or belief to answer the allegations contained therein, and based
                                               2
Case 2:17-cv-00399-TJH-JC Document 14 Filed 02/27/17 Page 3 of 6 Page ID #:32



  1 thereon, denies each and every allegation contained therein.
  2         16.    Answering paragraph 16 of the Complaint, claimant has insufficient
  3 information or belief to answer the allegations contained therein, and based
  4 thereon, denies each and every allegation contained therein.
  5         17.    Answering paragraph 17 of the Complaint, claimant has insufficient
  6 information or belief to answer the allegations contained therein, and based
  7 thereon, denies each and every allegation contained therein.
  8         18.    Answering paragraph 18 of the Complaint, claimant has insufficient
  9 information or belief to answer the allegations contained therein, and based
 10 thereon, denies each and every allegation contained therein.
 11                   FOR A SECOND, SEPARATE AND FURTHER
 12                 ANSWER AND FIRST AFFIRMATIVE DEFENSE,
 13                   THIS ANSWERING COMPLAINT ALLEGES:
 14         19.    The Complaint fails to state a claim against the defendant property
 15                upon which relief can be granted.
 16                    FOR A THIRD, SEPARATE AND FURTHER
 17               ANSWER AND SECOND AFFIRMATIVE DEFENSE,
 18                    THIS ANSWERING CLAIMANT ALLEGES:
 19         20.    The seizure statute violates due process of law under the Fifth
 20 Amendment to the United States Constitution because it is unconstitutionally vague
 21 and authorizes the arrest of property without prior authorization by a disinterested
 22 judicial officer, prior notice, or an opportunity to be heard on the probable validity
 23 of the claim, and authorizes the taking of personal property without just
 24 compensation in violation of the Eminent Domain Clause of the Fifth Amendment
 25 to the United States Constitution.
 26 ///
 27 ///
 28 ///

                                                3
Case 2:17-cv-00399-TJH-JC Document 14 Filed 02/27/17 Page 4 of 6 Page ID #:33



  1                   FOR A FOURTH, SEPARATE AND FURTHER
  2                ANSWER AND THIRD AFFIRMATIVE DEFENSE,
  3                    THIS ANSWERING CLAIMANT ALLEGES:
  4         21.    The seizure of the defendant property was based on an unlawful search
  5 and seizure by state and/or federal authorities in violation of the Fourth
  6 Amendment to the United States Constitution.
  7                    FOR A FIFTH, SEPARATE AND FURTHER
  8                 ANSWER AND FOUR AFFIRMATIVE DEFENSE,
  9                    THIS ANSWERING CLAIMANT ALLEGES:
 10         22.    The forfeiture statute is void and unenforceable under the United
 11 States Constitution, Article III, Section 3, cl.2
 12                    FOR A SIXTH, SEPARATE AND FURTHER
 13                 ANSWER AND FIFTH AFFIRMATIVE DEFENSE,
 14                    THIS ANSWERING CLAIMANT ALLEGES:
 15         23.    Defendant is not subject to forfeiture because any alleged acts or uses
 16 involving said property in violation of law were committed without the knowledge
 17 of consent of claimant, and claimant is an innocent owner of the defendant.
 18                  FOR A SEVENTH, SEPARATE AND FURTHER
 19                 ANSWER AND SIXTH AFFIRMATIVE DEFENSE,
 20                    THIS ANSWERING CLAIMANT ALLEGES:
 21         24.    The seizure and forfeiture of the claimant’s interest in the defendant
 22 property is void and unenforceable under the Eighth Amendment to the United
 23 States Constitution as an excessive fine or punishment.
 24                  FOR AN EIGHTH, SEPARATE AND FURTHER
 25               ANSWER AND SEVENTH AFFIRMATIVE DEFENSE,
 26                    THIS ANSWERING CLAIMANT ALLEGES:
 27         25.    The forfeiture statutes are void and unenforceable under the Due
 28 Process Clause of the Fifth Amendment to the United States Constitution because
      they impermissibly permit a burden of proof of mere probable cause for the
                                                4
Case 2:17-cv-00399-TJH-JC Document 14 Filed 02/27/17 Page 5 of 6 Page ID #:34



  1 plaintiff and shift the burden of proof at the forfeiture trial to the claimant.
  2         WHEREFORE, this answering party claimant respectfully prays:
  3         1.     That plaintiff United States of America take nothing by its Compliant;
  4         3.     That the defendant property be returned to claimant forthwith;
  5         4.     That the Court award claimant his reasonable costs and attorney’s fees
  6 incurred herein under the Equal Access to Justice Act;
  7         5.     That the Court rule on all of the constitutional questions raised by this
  8 pleading and issue its findings of fact and conclusions of law; and
  9         6.     For such other and further relief as the Court may deem just and
 10 proper.
 11 DATED:         February 27, 2017                 Respectfully submitted,
 12
 13                                                  /s/Victor Sherman
 14                                           By:    _______________________
                                                     VICTOR SHERMAN
 15                                                  Attorney for Claimant
                                                     Pedro Prieto
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                                 5
Case 2:17-cv-00399-TJH-JC Document 14 Filed 02/27/17 Page 6 of 6 Page ID #:35



  1
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                            6
